
*1077OPINION.
SteRnhagen:
The Commissioner has determined an overassessment of $485.85 for 1920. There is nothing in the record showing that the overassessment arises from the respondent’s action on any claim for abatement, and the Board has no jurisdiction for that year. Cornelius Cotton Mills, 4 B. T. A. 255; E. F. Cremin, 5 B. T. A. *10781164. This disposes of the first, second and third assignments of error and that portion of the fourth which relates to 1920.
The fourth issue involves the propriety of including within petitioner’s income the liquidating dividends on the 15 shares of stock owned by his son, W. C. Capel. The respondent determined that the petitioner was the owner of 75 shares, and included in income liquidating dividends received thereon in determining the petitioner’s tax liability. The evidence is, in our opinion, sufficiently clear that petitioner owned only 60 shares and had only the possession of the 15 shares without ownership. He received the liquidation distribution as to such 15 shares on behalf of his son, and the amount was not his income. Upon this point the respondent is reversed. See Ball-Thrash &amp; Co. v. McCormick, 162 N. C. 471; 78 S. E. 303; Journal Publishing Co. v. Barber, 165 N. C. 478; 81 S. E. 694.
No evidence was introduced in support of the fifth assignment of error, and the respondent is sustained.
The sixth assignment of error is that the respondent overstated rentals received by petitioner. The only evidence offered on the issue thus raised was the testimony of an accountant who had prepared from the petitioner’s pass book a statement purporting to show rentals and expenses incurred in connection therewith. This statement included all items which were indicated on the book as being for rents and those which examination led him to believe were rental items. It was developed on cross-examination that cash items which did not go through the bank would not be reflected in the statement prepared by the accountant. No competent evidence of the actual facts with regard to receipts from rentals was introduced. On this issue the respondent is sustained.

Judgment will be entered on 15 days1 notice, under Rule 50.

Considered by Green and Arundell.
